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FILED -GR

September 25, 2009 2:44 PM

TRACEY CORDES, CLERK
U.S. DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

BY: LEP /
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN
MICHELLE GULLEY, Individually and On +?)
Behalf of All Others Similarly Situated, 1:09-cv-880
Plaintif ) Janet T. Neff
aintiff CASENO. . U.S. District Judge
vs. JUDGE
HUNTINGTON BANCSHARES CLASS ACTION COMPLAINT
INCORPORATED, HUNTINGTON NATIONAL )
BANK, DEMAND FOR JURY TRIAL
Defendants. '
)

 

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Plaintiff Michelle Gulley (‘Plaintiff’), on behalf of herself and all others similarly
situated (i.e., the members of the various Plaintiff Class described and defined, infra), herein
allege as follows:

INTRODUCTION AND SUMMARY OF ACTION

1. This is a civil action primarily seeking from Defendants Huntington National
Bank and Huntington Bancshares Incorporated (together referred hereinafter as “Huntington,”
‘Defendants” or “Defendant Huntington”) restitution and disgorgement of all profits gained as a
result of wrongfully taking overdraft fees from Huntington customers’ checking accounts after
debit card transactions and ATM withdrawals when customers had sufficient funds in their

checking accounts to cover these transactions at the time they were made. Plaintiff also seeks
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remedies for Defendants’ failure to adequately notify customers of this practice. Finally,
Plaintiff seeks to enjoin Defendants from continuing to conduct such improper activities.
Plaintiffs, for themselves and all others similarly situated, brings this action pursuant to the
Michigan Consumer Protection Act, Michigan Statute § 445.901, et seg., as well as Michigan
common law fraud, negligent misrepresentation, breach of contract, breach of the implied
covenant of good faith and fair dealing, and unjust enrichment/restitution/disgorgement.

THE PARTIES

2. Plaintiff MICHELLE GULLEY is and has been a resident of Kent County in the
State of Michigan during all times relevant to this action. She entered into a contractual
relationship with Huntington for a checking account and debit card, and has been damaged as set
forth in this Complaint by Huntington’s practices.

3. Defendant Huntington Bancshares Incorporated is the parent of all Huntington
entities. Huntington Bancshares Incorporated is a diversified financial services company
providing banking, insurance, investments, mortgage banking and consumer finance to
individuals, businesses and institutions in many states. Huntington Bancshares Incorporated is
headquartered in Columbus, Ohio.

4. Defendant Huntington National Bank is the consumer banking subsidiary of
Huntington Bancshares Incorporated and conducts substantial business in many states.
Huntington National Bank is headquartered in Columbus, Ohio.

5. Based on information and belief, some of the decisions relating to developing,
marketing and implementing the actions complained herein originated from Huntington National

Bank’s headquarters in Columbus, Ohio.
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JURISDICTION AND VENUE

6. This Court has original jurisdiction of this action under the Class Action Fairness
Act of 2005. The amount-in-controversy exceeds the sum or value of $5,000,000 exclusive of
interest and costs, and there is minimal diversity because certain members of the class are
citizens of a different state than any defendant as required by 28 U.S.C., section 1332(d)(2). |

7. Venue as to Defendant is proper in this judicial district because Defendants
Huntington Bancshares Incorporated and Huntington National Bank do substantial business in
this judicial district and some of the acts complained of occurred in this judicial district (the
collective Defendants will be referred to as “Defendants” or “Huntington”).

FACTUAL BACKGROUND

8. Huntington is one of this country’s larger consumer banking companies servicing
individual and business customers in a number of states. One of the services provided by
Huntington for customers who open a checking account is a check/debit/ATM card. This card
allows customers to access their checking account funds by using the card to conduct
transactions. Whether it is transactions with vendors or using the card to withdraw cash from an
ATM machine, the card is processed electronically so that Huntington is aware of the use of the
card and has the option to accept or decline transactions at the point of sale.

9. During the days leading up to and including April 13, 2009, Plaintiff engaged in
numerous debit card transactions — all of which occurred while she had a positive account
balance. Including all checks and deposits that were posted on April 13, Plaintiff continued to
have a balance well over zero. Nevertheless, Plaintiff was assessed four expensive overdraft fees
of $37.50 each on April 13. Had Plaintiff not been improperly assessed these four overdraft fees,

her account would have remained in positive balance at the end of April 14. Nevertheless, she
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was again assessed five overdraft fees, totaling $225 worth of fees. She did not make any
withdrawals or debit card transactions and did not have any checks posted on April 15, yet she
was assessed two more overdraft fees, totaling $75.

10. Based on information and belief, Huntington includes pending charges on any
given day as being debits which are counted as overdraft transactions, even though there were
sufficient funds in the account to cover each of those transactions, and also re-orders transactions
from chronological order to an order of highest transactions to lowest, in order to maximize the
number of overdraft transactions. As this improper practice makes it impossible for customers to
determine when they will be assessed an overdraft fee when their account balances are sufficient
to cover the transactions, customers are unknowingly incurring more and more overdraft fees. In
addition, as each overdraft fee is enormous, incurring one or more unwarranted overdraft fees
pushes customers into further negative account balances, which results in even more multiple
overdraft fees.

11. Asa result, Huntington assessed Plaintiff at least eleven (11) overdraft fees of
$37.50 each, totaling $412.50 over a mere three-day period, which were more than Plaintiff
should have been assessed based on the fact that she had sufficient funds in his account at the
time she made most of these transactions, and as a result of Huntington’s practice of approving
debit card transactions that result in overdrafting from the account and then assessing multiple
overdraft fees, and artificially manipulating and re-ordering transactions from the order they
occurred to highest transactions to lowest for the purpose of assessing additional overdraft fees.

12. Based on information and belief, the insufficient funds charges incurred by
Plaintiff are representative of hundreds of millions of dollars of insufficient overdraft fees that

Huntington assessed its customers and automatically deducted form their checking accounts
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when there were sufficient funds in their accounts at the time of the transaction. This is an
especially egregious wrongful taking of customers’ money form their checking accounts because
Huntington specifically approved each of these transactions and knew at the time it approved the
transaction there was sufficient funds in the account to cover the transaction.

13. ‘Finally, Huntington has failed to provide notice and make customers aware that
they can incur insufficient funds overdraft fees on transactions that when made, there were
sufficient funds in the account to cover the transaction.

14. All jurisdictional prerequisites have been and/or are hereby satisfied prior to, as
well as by and through, the filing and service of this Complaint.

CLASS ACTION ALLEGATIONS

15. Plaintiff initially proposes a nationwide class — the “National Class” — in litigating
this case, as defined as follows:

All Huntington customers who maintained a checking account with
a branch office throughout the United States who from September
25, 2003 to the present who were assessed an insufficient funds
overdraft fee for a Huntington check card purchase, debit card
purchase, or ATM transaction which there was sufficient funds in
the checking account at the time of the transaction to cover the
amount of the transaction.

Excluded from the above class is any entity in which Defendants have a controlling
interest, and officers or director of Defendants.

16. Ifthe Court determines that a nationwide class is not warranted, Plaintiff requests,
in the alternative, the certification of a Michigan class consisting of Huntington customers who
maintain a checking account with a branch office in Michigan.

17.‘ This action is brought as a class action and may properly be so maintained

pursuant to the provisions of the Federal Rules of Civil Procedure 23(a) and 23(b). Plaintiff
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reserves the right to modify the class definitions and the class period based on the results of
discovery.

18. Numerosity of the Class — The members of the Class are so numerous that their
individual joinder is impracticable. Plaintiff is informed and believes that there are at least
hundreds of thousands of customers in the class. Since the class members may be identified
through business records regularly maintained by Defendants and their employees and agents,
and through the media, the number and identities of class members can be ascertained. Members
of the Class can be notified of the pending action by e-mail, mail and supplemented by published
notice, if necessary;

19. Existence and Predominance of Common Question of Fact and Law — There
are questions of law and fact common to the Class. These questions predominate over any
questions affecting only individual class members. These common legal and factual issues
include, but are not limited to:

a. Whether Defendant Huntington assessed insufficient overdraft fees for
transactions it approved and for which there were sufficient funds in the
account at the time of the transaction to cover the cost of the transaction.

b. Whether Defendant Huntington posted account balances that do not reflect
their actual balance, thereby inducing the customers who rely on the
inaccurate statement of account balance into overdrafting from their
account and resulting in being assessed overdraft fees.

c. Whether Defendant Huntington delayed the posting of transactions made

by customers using Huntington’s debit card, check card or ATM card so
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that customers are charged overdraft fees on transactions where there were
sufficient funds in the account when the transactions were entered into.

d. Whether Defendant Huntington re-ordered daily the posting of
transactions from largest transactions to smallest, thereby increasing the
number of overdraft fees customers are assessed.

e. Whether Defendant Huntington had a policy of approving transactions
when it knew that they would result in overdrafting from the customers’
account, in order to assess multiple overdraft fees.

f. Whether Defendant Huntington enrolled its customers in an automated
overdraft program in order to increase the amount of overdraft fees
assessed.

g. Whether Defendant Huntington charged an exorbitant overdraft fee
amount that bears no relationship to the actual cost and risk to Huntington

of paying an NSF item that it had already approved.

h. Whether Defendant Huntington failed to disclose to customers each of the
above practices.
L Whether Defendant Huntington misled customers regarding that it

assessed insufficient overdraft fees for transactions it approved, and for
which there were sufficient funds in the account at the time of the
transaction to cover the cost of the transaction.

j. Whether Defendant Huntington engaged in deceptive advertising
campaigns which create consumer expectations that are inconsistent with

each of the above practices.
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k. Whether Defendant Huntington breached the implied covenant of good
faith and fair dealing with regards to these practices.

1. Whether Defendant Huntington’s conduct as described above constitutes
violations of the causes of action set forth below.

20. Typicality — The claims of the representative Plaintiff are typical of the claims of
the members of the Class. Plaintiff, like all other members of the Class, has sustained damages
arising from Defendant’s violations of the laws, as alleged herein. The representative Plaintiff
and the members of the Class were and are similarly or identically harmed by the same unlawful,
deceptive, unfair, systematic and pervasive pattern of misconduct engaged in by Defendant.

21. Adequacy — The representative Plaintiff will fairly and adequately represent and
protect the interests of the Class members and has retained counsel who are experienced and
competent trial lawyers in complex litigation and class action litigation. There are no material
conflicts between the claims of the representative Plaintiff and the members of the Class that
would make class certification inappropriate. Counsel for the Class will vigorously assert the
claims of all Class members.

22. Predominance and Superiority — This suit may be maintained as a class action
under Federal Rules of Civil Procedure 23(b)(3) because questions of law and fact common to
the Class predominate over the questions affecting only individual members of the Class and a
class action is superior to other available means for the fair and efficient adjudication of this
dispute. The damages suffered by individual class members are small compared to the burden
and expense of individual prosecution of the complex and extensive litigation needed to address
Defendants’ conduct. Further, it would be virtually impossible for the members of the Class to

individually redress effectively the wrongs done to them. Even if class members themselves
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could afford such individual litigation, the court system could not. In addition, individualized
litigation increases the delay and expense to all parties and to the court system resulting from
complex legal and factual issues of the case. Individualized litigation also presents a potential
for inconsistent or contradictory judgments. By contrast, the class action device presents far
fewer management difficulties; allows the hearing of claims which might otherwise go
unaddressed because of the relative expense of bringing individual lawsuits; and provides the
benefits of single adjudication, economies of scale, and comprehensive supervision by a single
court.

23. The Class Plaintiff contemplates the eventual issuance of notice to the proposed
Class members setting forth the subject and nature of the instant action. Upon information and
belief, Defendants’ own business records and electronic media can be utilized for the
contemplated notices. To the extent that any further notices may be required, the Class Plaintiff
would contemplate the use of additional media and/or mailings.

24. In addition to meeting the statutory prerequisites to a Class Action, this action is
properly maintained as a Class Action pursuant to Rule 23(b) of the Federal Rules of Civil
Procedure, in that:

a. Without class certification and determination of declaratory, injunctive,
statutory and other legal questions within the class format, prosecution of
separate actions by individual members of the Class will create the risk of:
i Inconsistent or varying adjudications with respect to individual

members of the Class which would establish incompatible

standards of conduct for the parties opposing the Class; or
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il. Adjudication with respect to individual members of the Class
which would as a practical matter be dispositive of the interests of
the other members not parties to the adjudication or substantially
impair or impede their ability to protect their interests;

b. The parties opposing the Class have acted or refused to act on grounds
generally applicable to each member of the Class, thereby making
appropriate final injunctive or corresponding declaratory relief with
respect to the Class as a whole; or

c. Common questions of law and fact exist as to the members of the Class
and predominate over any questions affecting only individual members,
and a Class Action is superior to other available methods of the fair and
efficient adjudication of the controversy, including consideration of:

1. The interests of the members of the Class in individually
controlling the prosecution or defense of separate actions;

ii. The extent and nature of any litigation concerning controversy
already commenced by or against members of the Class;

iii. The desirability or undesirability of concentrating the litigation of
the claims in the particular forum;

iv. The difficulties likely to be encountered in the management of a

Class Action.

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FIRST CAUSE OF ACTION
Violation of Michigan Consumer Protection Act, Michigan Statute § 445.901 et seq.
(Against all Defendants)

25. Plaintiff incorporates by reference and re-alleges all paragraphs previously
alleged herein.

26. Defendants’ acts and practices as described herein constitute unlawful, unfair,
unconscionable, and deceptive methods, acts, and practices. Defendants’ unlawful, unfair and
fraudulent business acts and practices are described throughout this Complaint and include, but
are not limited to, wrongfully directly taking insufficient overdraft fees from customers’
checking accounts for transactions where there was sufficient funds in the account at the time of
the transaction to cover the transaction; improperly re-ordering the posting of transactions to
highest transactions to lowest in order to generate more overdraft fees; and misrepresenting and
falsely advertising the accuracy and reliability of the available balance or account balance in
publications of customers’ checking account information.

27. Plaintiff and the Class members, and each of them, have been damaged by said
practices.

28. The conduct of Defendants as described herein violates the Michigan Consumer
Protection Act, Michigan Statute § 445.901, et seq.

29. Pursuant to Michigan Statute § 445.911, Plaintiff, on behalf of herself and all

others similarly situated, seeks relief as prayed for below, including injunctive relief and actual

damages.

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SECOND CAUSE OF ACTION
Fraud
(Against all Defendants)

30. ‘Plaintiff incorporates by reference and re-alleges all paragraphs previously
alleged herein.

31. ' The misrepresentations, nondisclosure and/or concealment of material facts made
by Defendants to Plaintiff and the members of the Class, as set forth above, were known by
Defendants to be false and material and were intended by the Defendants to mislead Plaintiff and
the members of the Class. Defendants also concealed material information regarding the
practices complained of which were not known to Plaintiff and the members of the Class.

32. That the Plaintiff and the Class were actually misled and deceived and were
induced by Huntington to incur overdraft charges they otherwise would not have incurred.

33. As a result of the conduct of Defendants, Plaintiff and the Class members have
been damaged by having incurred unwarranted overdraft fees assessed and taken from their
checking account.

THIRD CAUSE OF ACTION

Negligent Misrepresentation
(Against all Defendants)

34. Plaintiff incorporates by reference and re-alleges all paragraphs previously
alleged herein.
35. That Defendants had a duty to provide honest and accurate information to its

customers to avoid those customers from incurring expensive and unnecessary overdraft charges.
36. Defendants specifically and expressly indicated to class members that Huntington

customers’ checking account balance information that are published online, by phone, by ATM

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machines, and in-store inquiries are accurate and reliable, when in fact they are inaccurate and
unreliable.

37. Such misrepresentations were and are made by Huntington through the use of the
identifying term “account balance” in the various methods in which customers may access their
checking account information, when in fact such information is not what it purport to be, and
through the various marketing materials and the customer agreement contracts.

38. | Defendants knew or in the exercise of reasonable diligence should have known,
that the ordinary consumer and customer of Defendants’ products would understand Defendants’
representations concerning the term “account balance” as being what they purport to be — the
actual available balance at the time of the inquiry. Defendants also knew or in the exercise of
reasonable diligence should have known, that the ordinary consumer and customer of
Defendants’ products would understand the marketing materials and the terms of the customers
agreement contracts set forth in this Complaint as indicating that the published “account
balance” is accurate and reliable. Any other understanding on the part of consumers would not
be reasonable given Defendants’ representations.

39. Plaintiff and the Class members justifiably relied on Defendants’
misrepresentation as to their available balance and engaged in debit transactions or ATM
withdrawals which were within the limits of their published “balance,” yet were assessed
overdraft fees.

40. As a result of the conduct of Defendants, Plaintiff and the Class Members have
been damaged by having relied on Defendants’ misrepresentations as to their available balance

and have incurred unwarranted overdraft fees.

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41. In addition, by representing and posting pending charges to online accounts in
real time, and then including those charges to provide available balance, Huntington represented
to Class Members that overdraft fees would not be charged for transactions that were less than
the balance in the account at the time the transaction took place.

42. Those representations were false as Defendants did assess and automatically
deduct overdraft fees from customers account even though there were funds available to cover
the transaction at the time of the transaction.

43. Defendants knew or in the exercise of reasonable diligence should have known,
that Plaintiff and ordinary customers would rely on those representations.

44. That Plaintiff and the Class members did reasonably rely on those representations.

45. As a result, Plaintiff and the Class members have been damaged by being
assessed expensive and unnecessary overdraft fees.

FOURTH CAUSE OF ACTION
Breach of Contract
(Against all Defendants)

46. Plaintiff incorporates by reference and re-alleges all paragraphs previously
alleged herein.

47. Plaintiff and the Class members had a contract with Defendants that was
embodied by the account agreement documents. Under the agreement documents, Defendants
were not authorized to engage in the practices complained of throughout this complaint. By
engaging in such practices, Defendants have breached their contract with plaintiff and the Class
members.

48. As a result, Plaintiff and the Class members have been damaged by being

assessed expensive and unnecessary overdraft fees.

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FIFTH CAUSE OF ACTION
Breach of Implied Covenant of Good Faith and Fair Dealing
(Against all Defendants)

49. Plaintiff incorporates by reference and re-alleges all paragraphs previously
alleged herein.

50. Michigan law implies a covenant of good faith and fair dealing in all contracts
between parties.

51. As a result of the actions of Defendants, set forth hereinabove, Defendants have
violated the implied covenant of good faith and fair dealing contained in the agreements which
purport to govern Plaintiff's and the Class members’ checking accounts, and as a result thereof,
Plaintiff and the Class members are entitled to damages as prayed.

SIXTH CAUSE OF ACTION
Unjust Enrichment/Restitution/Disgorgement
(Against all Defendants)

52. Plaintiff incorporates by reference and re-alleges all paragraphs previously
alleged herein.

53. Plaintiff and the Class members conferred a benefit upon Defendants, namely,
entering into contracts for checking and debit card accounts and paid money for services related
to the accounts and use of debit cards, including overdraft fees.

54. Defendants retained that benefit.

55. Defendants, however, retained that benefit under circumstances, discussed

throughout this complaint, that make it inequitable for Defendants to retain it without paying the

value thereof

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff on her own behalf and on behalf of the Class, prays for relief as
follows:

A. For an order certifying the National Class, and appointing Plaintiff and her
counsel to represent the Class;

B. Alternatively, if the Court does not grant certification of the National Class,
Plaintiff prays for an order certifying a Michigan Class, and appointing Plaintiff and her counsel
to represent the class;

C. For an order awarding Plaintiff and the Class restitution and/or disgorgement and
other equitable relief as the Court deems proper;

D. For an order awarding Plaintiff and the Class punitive damages as to the
appropriate cause of action;

E. For an order enjoining Defendants, under Michigan Statute § 445.911, from
continuing to engage in business acts and practices, or any of them, which are unlawful, unfair,
or fraudulent, as alleged herein; and

F. For an order mandating that Defendants engage in a corrective advertising
campaign to correct the misperceptions Defendants’ conduct created;

G. For an order awarding Plaintiff and the Class pre-judgment and post-judgment

interest, as well as reasonable attorneys’ and expert-witness fees and other costs pursuant to as

may be applicable; and
H. For an order awarding such other and further relief as this Court may deem just
and proper.

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Respectfully submitted,

WILLISON + HELLMAN, P.C.

  

Dated: _ Seplen ly Cc GS COOP

   

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DEMAND FOR JURY TRIAL
Plaintiff, and all others similarly situated, hereby demands a trial by jury herein.
Respectfully submitted,

WILLISON + HELLMAN, P.@.

 

Datgd: KZ OY

 

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